         Case 1:22-mj-00019-GMH Document 1-1 Filed 01/27/22 Page 1 of 8




                                   STATEMENT OF FACTS

       Your affiant, Kyle G. Metz, is a Task Force Officer assigned to FBI Cincinnati’s Joint
Terrorism Task Force. In my duties as a Task Force Officer, I investigate crimes of international
and domestic terrorism. Currently, I am tasked with investigating criminal activity in and around
the U.S. Capitol grounds on January 6, 2021. As a Task Force Officer, I am authorized by law or
by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


                                                 1
         Case 1:22-mj-00019-GMH Document 1-1 Filed 01/27/22 Page 2 of 8




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                        Identification of Jared Kastner and Luke Faulkner

       During the FBI’s investigation of the events of January 6, 2021, the FBI obtained
information that a device associated with Jared Kastner was present at the U.S. Capitol on January
6, 2021. After receiving this information, your affiant located photographs of Kastner from the
events of January 6, 2021, by comparing the photographs with Kastner’s driver’s license
photograph. One of the photographs is below, with a red arrow pointing to Kastner. Kastner’s
supervisor at his place of employment confirmed that the individual in the photograph is Kastner.




       A search warrant served on Google for records related to Kastner’s Gmail address and
telephone number returned a photograph of a man wearing jeans and a black jacket with the
Washington Monument visible in the background. The photograph, presented below, was taken
on January 6, 2021. Your affiant has compared this image to the Ohio driver’s license photograph
of Luke Faulkner and determined that the two are consistent.




                                                 2
        Case 1:22-mj-00019-GMH Document 1-1 Filed 01/27/22 Page 3 of 8




                        Footage of Kastner, Faulkner, and Third Party,
                  Later Determined to Be Kenneth Duncan Massie, at Capitol

        Your affiant subsequently reviewed surveillance footage from January 6, 2021, from inside
the U.S. Capitol building. Your affiant identified Kastner, Faulkner and an unidentified third
person wearing a white cowboy hat, later identified as Kenneth Duncan Massie, as they moved
through the Crypt of the U.S. Capitol. In the footage, Faulkner appears to have his hand on
Kastner’s shoulder, and Kastner appears to have his hand on Massie’s shoulder. Screenshots from
the surveillance footage are below, with a red arrow pointing to Kastner, a blue arrow pointing to
Faulkner, and a green arrow pointing to Massie.




       Your affiant subsequently located Massie in other footage from January 6, 2021. An
additional still from Capitol surveillance footage, showing Massie entering the building through
the Senate Wing door, is below. A green arrow is pointing to Massie.



                                                3
        Case 1:22-mj-00019-GMH Document 1-1 Filed 01/27/22 Page 4 of 8




       Additionally, your affiant located images of Massie from a third-party’s social media
account. Images of Massie near the exterior of the Senate Wing Door at the U.S. Capitol building
and exiting an office inside the building are below.




                                               4
         Case 1:22-mj-00019-GMH Document 1-1 Filed 01/27/22 Page 5 of 8




                                     Identification of Massie

       A review of telephone records for Kastner, Faulkner and an associate1 were examined for
a common contact in an effort to identify the male in the white cowboy hat. All three individuals
communicated with an individual with a telephone number ending with -5593. Legal records from
AT&T show that Kenneth Duncan Massie is the subscriber of the account with the phone number
ending -5593.

        According to records obtained through a search warrant served on AT&T, during the riot,
the cellphone with the telephone number ending in -5593 and subscribed to Massie was identified
as having utilized a cell site consistent with providing service to a geographic area that included
the interior of the United States Capitol building. The FBI has reviewed the available information
to determine whether there was any evidence that devices associated with this address could have
lawfully been inside the U.S. Capitol building on January 6, 2021. The information for this address
did not match any information for persons lawfully within the Capitol. Thus, your affiant believes
that the individual possessing this device was not authorized to be within the U.S. Capitol building
on January 6, 2021.

        On December 8, 2021, Kastner and Faulkner were arrested pursuant to a complaint and
arrest warrant issued in the District Court for the District of Columbia. See United States v.
Kastner, et al.,, 21-cr-725-RDM. Following their arrest, Kastner and Faulkner were interviewed
regarding the events at the U.S. Capitol building on January 6, 2021. Both Kastner and Faulkner
admitted to entering the U.S. Capitol building on January 6, 2021. During the interview, images
1-4, provided below, of the male in the white cowboy hat who agents located inside the Crypt with
Kastner and Faulkner, as discussed above, were shown to Kastner and Faulkner for identification
purposes. Kastner identified the male in the white cowboy hat as Massie. Faulkner indicated that
he, Faulkner, had vision issues and no glasses with him. Faulkner stated that the male in the
cowboy hat in images #1 and #3 was likely Massie, but he was unable to identify the individual in
the cowboy hat in images #2 and #4.




1
  The associate traveled to Washington, D.C. with Kastner. A third-party witness stated that
Kastner and the associate stayed with her near Washington, D.C. on January 5, 2021, and that the
two notified her they were attending the rally on the National Mall on January 6, 2021. Also,
location data obtained from a search warrant served on Google shows Kastner stopping at the
associate’s residence on his way to Washington, D.C. and on his way home from Washington,
D.C.
                                                 5
Case 1:22-mj-00019-GMH Document 1-1 Filed 01/27/22 Page 6 of 8




                           Image #1




                           Image #2




                           Image #3




                              6
        Case 1:22-mj-00019-GMH Document 1-1 Filed 01/27/22 Page 7 of 8




                                                                    .
                                            Image #4

        Massie was subsequently interviewed on December 9, 2021, and admitted to entering the
U.S. Capitol building on January 6, 2021. He also stated that he was together with Kastner and
Faulkner inside the Capitol for a period of time. At the interview, Massie provided the affiant the
black jacket that he said he wore on January 6, 2021, during the riot, as well as the cellular
telephone he used during the riot. Massie stated that he had deleted the images taken while at the
U.S. Capitol building. Your affiant reviewed the contents of the cellular telephone and located,
among other relevant items, one image that was taken outside of the U.S. Capitol building where
scaffolding can be seen. During the interview, Massie was shown images from the events at the
U.S. Capitol on January 6, 2021, including images of Massie. He identified himself in Image #1,
copied above. Massie believed the male in Image #4 copied above was him but did not recall his
mask being that large. Massie also recalled the meeting with Kastner and Faulkner as depicted in
Image #3 above.

        Additional footage from the Senate Wing Door at the U.S. Capitol building shows Kastner,
Faulkner, and Massie exiting the building. In the video, Kastner is wearing a face mask not seen
in previous footage and Massie is no longer wearing the cowboy hat. Stills from the Capitol
surveillance footage are below. Kastner is circled below in red. Faulkner is circled in blue, and
Massie is circled below in green.




                                                7
         Case 1:22-mj-00019-GMH Document 1-1 Filed 01/27/22 Page 8 of 8




        Based on the foregoing, your affiant submits that there is probable cause to believe that
Kenneth Duncan Massie violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Kenneth Duncan Massie
violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                     _________________________________
                                                     Task Force Officer, Kyle G. Metz
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 27th day of January, 2022.                                G. Michael Harvey
                                                                          2022.01.27 10:59:34
                                                                          -05'00'
                                                     ___________________________________
                                                     G. Michael Harvey
                                                     U.S. MAGISTRATE JUDGE

                                                 8
